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                           BROADBAND SECURITY, LLC DBA
                         7 XFINITY HOME, erroneously sued as
                           COMCAST CORPORATION
                         8
                                                     UNITED STATES DISTRICT COURT
                         9
                                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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                               ALFREDO LEON OREA,                           CASE NO. 3:13-cv-03950-RS
                        12
                                                Plaintiff,                  STIPULATED DISMISSAL
                        13                                                  (FRCivP 41(a)(1)(A)(ii))
                                          vs.
                        14                                                  Trial Date: None Set
                               COMCAST CORPORATION,
                        15
                                                Defendant.
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   COOPER, WHITE
                               739764.1                                                                 4:13-cv-03950-RS
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                                                                 (FRCivP 41(a)(1)(A)(ii))
                                    Case 3:13-cv-03950-RS Document 16 Filed 10/22/13 Page 2 of 2




                          1               The parties hereby stipulate to a dismissal with prejudice of this action in its entirety with

                          2 no attorneys' fees, costs or other relief to be awarded for or against any party.

                          3

                          4 DATED: October 22, 2013                           COOPER, WHITE & COOPER LLP

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                          6
                                                                              By:          /s/Scott M. McLeod
                          7                                                         Scott M. McLeod
                                                                                    Attorneys for Defendant COMCAST
                          8                                                         BROADBAND SECURITY, LLC DBA XFINITY
                                                                                    HOME, erroneously sued as COMCAST
                          9                                                         CORPORATION
                        10
                               DATED: October 22, 2013                        LAW OFFICES OF TODD M. FRIEDMAN
                        11

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                        13                                                    By:          /s/Todd M. Friedman
                        14                                                          Todd M. Friedman,
                                                                                    Attorneys for Plaintiff ALFREDO LEON OREA
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                                                                          STIPULATED DISMISSAL
                                                                           (FRCivP 41(a)(1)(A)(ii))
